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               DUPLICATE

               Court Name: U S DISTRICT COURT - AL/H
               Division: 2
               Recei pt Number: 4602047104
               Cashier. ID: estron9
               Transaction Date:10/13L2017
               Payer Name: JEANETTA SPIUNGER

               CIVIL FILING FEE
                For: JEANETTA SPRINGER
                Case/Part y : D-ALH-2-17-CV-000693-001
                Amount:          $400.00

               CASH
                Amt Tendered: $400.00

               Total Due:$400.00
               Total Tendered: $400.00
               Change Amt:     $0.00

               2:17-CV-693

               Springer at al v. Wells Fargo
               Bank, N.A., at al




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